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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PACE-O-MATIC, INC.,       :
                          :
            Plaintiff,    :
                          :
    v.                    :                   NO. 20-CV-292
                          :
ECKERT, SEAMANS, CHERIN & :                   JUDGE WILSON
MELLOTT, LLC,             :
                          :                   ELECTRONICALLY FILED
            Defendant.    :


STIPULATION REGARDING DISCOVERY AND BRIEFING SCHEDULE

      WHEREAS, Plaintiff Pace-O-Matic, Inc. (“POM”) filed a Motion for

Preliminary Injunction and supporting brief on March 24, 2020 (ECF Nos. 12, 13);

      WHEREAS, Defendant Eckert Seamans Cherin & Mellott, LLC (“Eckert”)

filed an opposition brief on April 21, 2020 (ECF No. 21);

      WHERAS, POM has sought unopposed leave to file its reply brief on or

before May 8, 2020 (ECF No. 22);

      WHEREAS, by Order dated March 31, 2020 (ECF No. 17), the Court

directed the parties to meet and confer no later than April 28, 2020 to discuss a

discovery and briefing schedule; and

      WHEREAS, the parties conferred and agreed upon the schedule below.

      IT IS HEREBY STIPULATED AND AGREED, by and between the parties,

as follows:
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      1.     The parties will conduct discovery relating to POM’s Motion for

Preliminary Injunction for a period of 75 days beginning on May 5, 2020 and

ending on July 20, 2020.

      2.     Supplemental briefs will be filed by both parties no later than 20 days

after the close of discovery and rebuttal briefs will be filed no later than 10 days

after the deadline for filing supplemental briefs.

      3.     If unanticipated issues related to the COVID-19 pandemic arise

during the course of discovery that materially impact this schedule, counsel for the

parties will promptly bring those issues to the attention of the Court.

Respectfully submitted,

/s/ Daniel T. Brier                            /s/ Robert S. Tintner
Daniel T. Brier                                Abraham C. Reich
Donna A. Walsh                                 Robert S. Tintner

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Attorneys for Plaintiff,                       Attorneys for Defendant,
Pace-O-Matic, Inc.                             Eckert Seamans Cherin & Mellott, LLC


Dated: May 5, 2020

                                               SO ORDERED:

                                               ___________________________
                                                                        J.


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